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                                                                Monday, 28 August, 2017 10:36:36 AM
                                                                        Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
       v.                                        )      Case No. 16-CR-20082
                                                 )
CORY SANFORD,                                    )
                                                 )
                     Defendant.                  )

                                         ORDER

       This case is before the court for ruling on the Motion for Franks Hearing (#13)

filed by Defendant, Cory Sanford. The Government filed a Memorandum in

Opposition (#18) and a hearing was held on August 7, 2017. After careful consideration

of the arguments of the parties, the documents provided by the parties, and the

testimony presented at the hearing, this court concludes that there is no basis for a

Franks hearing regarding the search warrant issued in this case. Therefore, Defendant’s

Motion (#13) is DENIED. The Government’s Motion to Continue or Cancel Franks

hearing (#21) is therefore MOOT.

                                     BACKGROUND

       On December 6, 2016, Defendant was charged by Indictment (#1) with one count

of knowing possession with the intent to distribute a substance containing heroin, in

violation of 21 U.S.C. § 841(a)(1) & (b)(1)(C), one count of knowing possession of a

firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. §

924(c)(1)(A)(I), and one count of unlawful possession of a firearm by a felon, in violation
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of 18 U.S.C. § 922(g)(1). On December 28, 2016, Elisabeth Pollock of the Federal

Defender’s Office was appointed to represent him. This case is set for a final pretrial

conference on September 11, 2017, at 10:30 a.m., and a jury trial on September 26, 2017,

at 9:30 a.m.

                                  PENDING MOTION

       On June 7, 2017, Defendant filed his Motion for Franks Hearing (#13) and

requested a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978). Defendant is

charged with one count of possession of heroin with the intent to distribute and one

count of possession of a firearm in furtherance of a drug trafficking offense. Defendant

claims that the evidence relevant to these charges was discovered pursuant to the

execution of a search warrant at his residence. The search warrant was issued by

Vermilion County Circuit Judge Mark S. Goodwin at approximately 3:50 a.m. on

September 27, 2016, and was executed later that same morning. The search warrant was

issued based upon the testimony of Danville Police Officer Benjamin Stringer and Jane

Doe, a witness who allegedly obtained narcotics from Defendant the evening of

September 26, 2016. Defendant stated that Jane Doe’s true identity is Ashley Hinkle.

Defendant argued that Officer Stringer and Hinkle intentionally misrepresented key

facts and omitted other key facts which would have affected the issuance of the search

warrant.




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      Defendant also filed a Memorandum of Law in Support (#14). Defendant

attached a transcript of the testimony of Stringer and Hinkle before Judge Goodwin on

September 27, 2016. Defendant attached Hinkle’s Sworn Declaration, which she signed

on June 7, 2017. In the Sworn Declaration, Hinkle stated that her vehicle was pulled

over the evening of September 26, 2016. Officers searched the vehicle and found some

syringes and a small amount of methamphetamine. Hinkle stated that she also had an

outstanding warrant for failing to appear in court in a misdemeanor case. She was

taken to the Public Safety Building and was interviewed by Officer Stringer and other

officers. Hinkle stated that she was told that, if she did not cooperate, they would take

her one-year-old daughter away from her. Hinkle stated that she made a statement and

was taken to the courthouse to meet with a prosecutor. The prosecutor and Stringer

told her she had to repeat her statement to a judge and also told her to say she had not

been promised anything for testifying. Hinkle stated that she believed she would be

charged with possession of drugs and arrested on the outstanding warrant. When she

asked Stringer about that he told her that she would not be charged with any new

offenses and the warrant would be taken care of. Hinkle stated that, when she was

finished testifying, Stringer took her back to her car and allowed her to drive it home

even though she did not have a valid license. Hinkle stated that Stringer also returned

heroin and syringes to her. Hinkle stated that, about three weeks later, she was arrested

on the outstanding warrant. She said she was very confused and surprised because she

believed it had been taken care of after she testified about Defendant to the judge.


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       Defendant argued that Hinkle’s lengthy criminal record and the existence of an

active warrant and Stringer’s assurances that there would be no new criminal charges

and that the pending warrant would be “taken care of” were not disclosed to Judge

Goodwin before he decided to issue the warrant. Defendant argued that the issuance of

the search warrant rested solely on the credibility of Hinkle’s testimony because there

was no corroboration of the information she provided. Defendant contended that the

omission of the information relevant to Hinkle’s credibility would have altered the

probable cause determination in this case.

       On June 12, 2017, this court held a hearing in this case. The final pretrial

conference and trial dates were reset, and the case was set for a hearing on the Franks

Motion on July 17, 2017.

       On July 5, 2017, the Government filed a Response (#18). The Government

argued that Defendant has not shown that a Franks hearing is necessary. The

Government stated that it was unaware of any federal court ever finding a warrant

invalid for intentional or reckless omission in the course of live testimony before a

magistrate. The Government noted that Stringer and Hinkle subjected themselves to

questioning under oath and they did not refuse to answer any questions. The

Government argued that there was, in fact, corroboration because Stringer corroborated

Hinkle’s information that the residence in question had a refrigerator on the front

porch. The Government argued that Hinkle’s Declaration is contradictory and mostly

nonsense, and the wording of the Declaration twists the facts and leaves out details to


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make it appear as if some misconduct occurred. The Government contended that the

omissions alleged by Defendant do not necessitate a Franks hearing, noting that the

judge issuing the search warrant was aware that informants are frequently facing

charges and hoping for deals. The Government argued that the testimony in support of

the search warrant was sufficient to support probable cause and the alleged omissions

are not material such that they would alter the probable cause determination if included

in the testimony. The Government argued that Hinkle’s criminal history and other

motivations simply are not sufficiently material to the probable cause analysis to

warrant a Franks hearing because the information Hinkle provided to the judge was

detailed, recent, and was given against Hinkle’s penal interest while she was under

oath.

        On July 13, 2017, the Government filed a Motion to Continue or Cancel Hearing

(#21). The Government stated that the only evidence Defendant offered in support of

his request for a Franks hearing was the “Sworn Declaration” of Ashley Hinkle. The

Government stated that FBI Special Agents Michael Carter and Andrew Huckstadt met

with Hinkle to discuss the circumstances surrounding the so-called “Sworn

Declaration.” The Government stated that Hinkle told the FBI agents that she did not

write or prepare the Declaration and the words were not her own. She told the FBI

agents that most of the Declaration after paragraph 3 was false and/or twists the actual

circumstances to something essentially untrue. For example, she denied that the

officers ever threatened to take her kids away. She also described the issue of the


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expected benefits as one of miscommunication, not malice. The Government asked that

the Declaration be stricken and that the scheduled hearing be continued, cancelled, or

converted to a pre-Franks hearing.

       On July 17, 2017, the parties appeared before this court. The motion hearing was

not held because Hinkle had not been transported for the hearing. The motion hearing

was reset to August 7, 2017.

                                        HEARING

       Because this court concluded that the credibility of Hinkle could be

determinative of the issue of whether Defendant’s Motion seeking a Franks hearing

should be granted, a hearing was held on August 7, 2017. At the hearing, Hinkle

testified that she is currently incarcerated in the Fountain County, Indiana, jail for

failure to appear. She testified that she was friends with Defendant. Hinkle testified

that she spoke with Defendant’s attorney on the telephone about the night she testified

before the state court judge. She testified that, the next day, an investigator from the

attorney’s office came to see her and brought a paper for her to sign. She testified that

she signed the Declaration after she crossed something out that was not accurate. The

Declaration stated that heroin was found in her vehicle, but that was not accurate so she

crossed it out. Hinkle testified that, at the time she signed it, she believed everything

that was in the Declaration was correct.




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      Hinkle then testified about the events of September 26, 2016. Hinkle stated that

she was at Defendant’s house in Danville. After she left, she was pulled over by Officer

Stringer. When she got out of the car, Stringer saw a syringe on the seat where she had

been sitting. Her car was searched, and methamphetamine and syringes were found in

her purse. Hinkle testified that she had heroin in her bra, but that was not discovered

during the search. Hinkle testified that she told Stringer that she did not want to be

arrested because she had a one-year-old daughter at home. Hinkle said she was taken

to the Public Safety Building for an interview. She told Stringer that she had an

outstanding warrant and Stringer said he would do his best to get it taken care of. She

was interviewed and was later taken to the courthouse to give a statement to the

prosecutor and a judge. Hinkle said she asked Stringer what to say if she was asked if

she had been promised anything and he told her to say “no.” Hinkle testified that it

was her impression when she went to the courthouse that she was not getting charged

with any of the drugs and the warrant, to the best of her knowledge, would go away.

      Hinkle testified that two FBI agents came to talk to her about her Declaration.

Hinkle testified that she clarified some of the statements she made in the Declaration.

One was the statement in her Declaration that she was told that, if she did not

cooperate, they would take her one-year-old daughter away from her. Hinkle said her

daughter was in foster care and she had a visit with her daughter the next day. She said

she was informed she would not be at the visit if she did not cooperate. She also

clarified that it was only Stringer who told her to say she had not been promised


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anything, not Stringer and the prosecutor. Hinkle testified that she felt she had been

guaranteed that she would not be arrested that night and she felt pretty sure she was

not going to have a warrant. Hinkle also clarified that the heroin was not returned to

her because she still had it. She testified that it was true that she was taken back to her

car and given her purse with the syringes in it. Hinkle testified that she was taken to

her car to drive home even though she did not have a driver’s license. Hinkle also

stated that the statement in her Declaration that she was surprised when she was

arrested because of the outstanding warrant was true. She testified that she thought she

did not have a warrant anymore after she testified before the judge. Hinkle testified

that she told Stringer she had used drugs at Defendant’s house that night. She said she

was not asked about using drugs when she testified before the judge.

       During cross-examination, Hinkle testified that she had a drug addiction and

had purchased heroin from Defendant for about a year and a half. She testified that, on

September 26, 2016, she used drugs at Defendant’s residence and saw a big bag of

heroin at that time. She also saw a gun and observed Defendant waving that firearm

around. She admitted that she knew from her experience with the criminal justice

system that, if she did not cooperate that day, she was going to be arrested. She also

admitted talking to the FBI agents about whether she would be in danger if the case

were to go the opposite way and Defendant were to lose. She admitted being

concerned that she could be in some danger because of Defendant. Hinkle also stated

that what she told Stringer and the state court judge about the bag of heroin and the


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gun inside Defendant’s residence was true. Hinkle agreed that she told the FBI agents

that Stringer told her he would see what he could do about the warrant, but at the time

he couldn’t make any promises about the warrant. She testified that there were no

promises about her warrant right then, but she was still being promised she wouldn’t

be arrested for the methamphetamine. Hinkle testified that Stringer told her that the

judge already signed off on the warrant so that’s why he could not make any promises

about the warrant. Hinkle agreed that the officers never threatened that they were

going to take her daughter away. She stated that they never said it like that, in those

words.

       Hinkle testified that she had numerous convictions for theft and drug possession

beginning in 2009. She testified that she was using heroin every day but was not

suffering from withdrawal at the hearing because she has been incarcerated the last four

months.

       Edwin Lisboa then testified that he works for the Federal Public Defender’s

Office in Urbana as an investigator. He testified that he met with Hinkle on June 7,

2017, to get her signature on a statement. Lisboa testified that he told Hinkle to read the

statement carefully and correct anything that was untrue or inaccurate. He said that

she did cross something out and then signed it.

       The Government then called Benjamin Stringer to testify, to provide some

context. Stringer testified that he did not return the methamphetamine or syringes to

Hinkle. He testified that he may have missed a syringe, but he did not willingly give


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her back any syringes. He stated that, during the traffic stop, Hinkle offered to

cooperate pretty much from the outset. Stringer testified that he told her that her

cooperation would be taken into consideration and passed along to the state’s attorney.

Stringer stated that he did not make any promises to her and specifically told her that

he could not promise her anything, but her cooperation would be taken into

consideration. Stringer testified that he never threatened to take her child away. He

stated that Hinkle was nervous and asked what she was supposed to say in front of the

judge. He told her to tell the judge what she said in the interview. He also clarified that

she had not been promised anything. Stringer testified that he did not try to hide any

information from the judge. After the search warrant was executed and Defendant was

arrested, Hinkle was allowed to leave and he took her to her car.

       Stringer was then subject to cross examination. He admitted that the police

report he prepared regarding this incident did not include anything about finding

syringes possessed by Hinkle.

       At the conclusion of the hearing, this court took the matter under advisement,

with an Order to be entered in due course.

                                       ANALYSIS

       The Seventh Circuit has recently explained that “[a] defendant is entitled to a

Franks hearing—an evidentiary hearing regarding the veracity of information included

in a search warrant application—if he can make a substantial preliminary showing that:

(1) the warrant affidavit contained false statements, (2) these false statements were


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made intentionally or with reckless disregard for the truth, and (3) the false statements

were material to the finding of probable cause. United States v. Hancock, 844 F.3d 702,

708 (7th Cir. 2016), quoting United States v. Mullins, 803 F.3d 858, 861-62 (7th Cir. 2015). As

a result, “Franks hearings are ‘rarely held’ because ‘[t]hese elements are hard to prove.’”

United States v. Dessart, 823 F.3d 395, 402 (7th Cir. 2016), quoting United States v. Swanson,

210 F.3d 788, 790 (7th Cir. 2000).

           To mandate an evidentiary hearing, the challenger’s attack must be
           more than conclusory and must be supported by more than a mere
           desire to cross-examine. There must be allegations of deliberate
           falsehood or reckless disregard for the truth, and those allegations
           must be accompanied by an offer of proof. They should point out
           specifically the portion of the warrant affidavit that is claimed to be
           false; and they should be accompanied by a statement of supporting
           reasons.

Franks, 438 U.S. at 171.

       In this case, Defendant relied for the most part on Hinkle’s statements in her

Declaration to support his request for a Franks hearing. Accordingly, this court

concluded that Hinkle’s credibility was determinative of whether a Franks hearing is

required and held a hearing for the purpose of assessing Hinkle’s credibility. After

hearing Hinkle’s testimony, this court concludes that the portions of Hinkle’s

Declaration that Defendant relied on in support of his request for a Franks hearing are

simply not credible.1 This court wants to be clear that it does not believe that Hinkle


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        This court concludes that allowing the Government to present Stringer’s
testimony at the hearing did not convert the hearing into a full-fledged Franks hearing.
The purpose of the hearing remained an assessment of the credibility of the statements
in Hinkle’s Declaration. Cf. United States v. McMurtrey, 704 F.3d 502, 509-10 (7th Cir.

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was deliberately or intentionally lying during her testimony at the hearing. However,

Hinkle obviously was motivated to provide statements and testimony helpful to

Defendant, whether because he is her friend or because she feels she is in some danger

because of him.2 This court additionally notes that Hinkle’s testimony did not support

some of the statements included in the Declaration she signed.

       This court concludes that Hinkle’s statement in her Declaration that she was told

that, if she did not cooperate, her one-year-old daughter would be taken away from her

is patently untrue. It is also clear that, although Hinkle was hoping that she would not

be arrested for the drugs in her possession that night or because of the outstanding

warrant, no promises were actually made to her. Hinkle testified that Stringer did not

make any promises about her warrant and this court has no trouble concluding that no

promise was actually made about the drugs in her possession either. And, in fact, she

was later arrested based upon the outstanding warrant. Thus, her testimony before the

judge that no promises were made to her was true.

       This court finds completely irrelevant the fact that Stringer took Hinkle to her

car, returned her purse to her (with or without syringes in it), and left her there, even


2013) (district court made procedural error by allowing the Government to present
additional testimony to bolster the search warrant affidavit but did not give the defense
a full opportunity to challenge or rebut that evidence). In any case, Defendant was
allowed a full opportunity to cross examine Stringer. And, even if the hearing was
considered a full Franks hearing, the result would be the same. This court concludes that
the information provided to the state court judge was accurate so there is no basis for
challenging the search warrant issued in this case.
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        This court notes that Hinkle’s demeanor changed markedly after her direct
testimony was over and the cross-examination began.

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though she did not have a valid driver’s license. This happened after the search

warrant was issued, and executed, and has no bearing on the issues raised in

Defendant’s request for a Franks hearing.3

       This court also cannot agree that a Franks hearing is warranted because the judge

who issued the warrant was not provided information regarding Hinkle’s criminal

history. In making this argument, Defendant has relied on United States v. Glover, 755

F.3d 811 (7th Cir. 2014). In Glover, a search warrant was issued based upon an affidavit

which included information provided by a confidential informant that he had seen the

defendant in possession of handguns at the defendant’s house on numerous occasions.

Id. at 814-15. The police officer requesting the search warrant had corroborated some of

the information provided, including driving by the house with the informant. Id. at 815.

The informant confirmed this was the house where he had seen the defendant with the

guns. Id. The police officer’s affidavit did not include any available information on the

informant’s credibility. Id. In fact, the informant had been an informant for six years,

had been affiliated with a gang, had fourteen criminal convictions, including four for

crimes committed while he was working as an informant, had used aliases when

questioned by police officers on two prior occasions, and had received payment for

providing information in the past. Id. The police officer brought the informant with




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         Stringer testified that he returned Hinkle to her car and told her that she was
not allowed to drive and then left. He testified that he was not going to drive her back to
Indiana. This court notes that this is the same procedure followed by the United States
Marshal’s Service.

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him when he appeared before the state court judge, but there was no record of any

testimony by the informant. Id. The Seventh Circuit concluded that “[t]he complete

omission of information regarding [the informant’s] credibility is insurmountable, and

it undermines the deference we would otherwise give the decision of the magistrate to

issue the search warrant.” Id. at 816. After a lengthy analysis, the Seventh Circuit

determined that a Franks hearing was necessary and remanded the case for a Franks

hearing. Id. at 821.

       The Government insists that the Seventh Circuit’s decision in Hancock is more

instructive. In Hancock, the court determined that a Franks hearing was not required

based upon Glover. Hancock, 844 F.3d at 709-10. The court concluded that there were

not the same type of concerns regarding the informant as there were with the informant

in Glover. Id. at 710. The court stated that, specifically, there was not evidence that the

informant was involved in a different, and perhaps rival, gang, that he had attempted

to deceive the police, or that he was expecting remuneration for his cooperation. Id.

       This court concludes that this case is more similar to Hancock and is not

controlled by Glover. As the Government has pointed out, Hinkle appeared before the

state court judge and gave testimony, unlike the situation in Glover. Also, although

Hinkle has an extensive criminal history due to her history of drug addiction and theft

crimes, her history does not compare with the history of the informant in Glover, which

included committing crimes while working as an informant. In addition, contrary to

Hinkle’s testimony before this court, she testified before the state court judge that she


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had used drugs that night. She also testified that she had purchased drugs on prior

occasions. This court concludes that the state court had ample information to assess

Hinkle’s credibility and was not mislead about Hinkle, who was available to answer

any questions he had. Therefore, similar to the situation in Hancock, there were not the

same types of concerns regarding the informant that were present in Glover.

       After careful consideration, this court concludes that Defendant has not made a

substantial showing that: (1) the testimony provided in support of the warrant

contained false statements, (2) these false statements were made intentionally or with

reckless disregard for the truth, and (3) the false statements were material to the finding

of probable cause. See Hancock, 844 F.3d at 708. Accordingly, this court concludes that

Defendant is not entitled to a Franks hearing.

       IT IS THEREFORE ORDERED THAT:

       (1) Defendant’s Motion for a Franks Hearing (#13) is DENIED.

       (2) The Government’s Motion to Continue or Cancel Hearing (#21) is MOOT.

       (3) This case remains scheduled for a final pretrial conference on September 11,

2017, at 10:30 a.m. and a jury trial on September 26, 2017 at 9:30 a.m.

                         ENTERED this 28th day of August, 2017.

                                   s/COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE




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